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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CLEVE COTTON, TWANITA TURNER                          )
on behalf of plaintiffs and the class defined         )
below,                                                )
                                                      )
                       Plaintiff,                     )          10-cv-4709
                                                      )
               vs.                                    )          Magistrate Judge Valdez
                                                      )
NATIONAL ACTION FINANCIAL                             )
SERVICES, INC.,                                       )
                                                      )
                       Defendant.                     )

                     PLAINTIFF’S MOTION FOR ENTRY OF ORDER
                             APPROVING SETTLEMENT

       Pursuant to the January 22, 2014 hearing in the above captioned case and the Court’s

Minute Order of January 22, 2014 (Doc. 86), plaintiff Twanita Turner respectfully requests that

the Court enter the final order approving the settlement with Illinois Union Insurance Company

(“Illinois Union) attached hereto as Appendix 1.

       In support of this motion, plaintiff states as follows:

       1.      On January 22, 2014, a hearing was held on plaintiff’s motion to approve the

settlement between Twanita Turner and Illinois Union Insurance Company. At the hearing, the

Court requested that an agreed order be submitted by way of motion to the Court for entry.

       2.      Counsel for plaintiff, Illinois Union, and NA Liquidating f/k/a National Action

Financial Services, Inc. have all agreed on the language of the order attached as Appendix 1.

       WHEREFORE, for the foregoing reasons, plaintiff Twanita Turner respectfully requests




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that the Court enter the final order approving the settlement with Illinois Union attached hereto

as Appendix 1.

                                                             Respectfully submitted,


                                                             Francis R. Greene
                                                             Francis R. Greene




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                                CERTIFICATE OF SERVICE

        I, Francis R. Greene, hereby certify that on January 29, 2014, I caused to be filed the
foregoing document with the Clerk of the Court using the CM/ECF System which will cause to
be sent notification of such filing via electronic mail to the following parties:

Jeffrey Pilgrim
jpilgrim@gradypilgrim.com

Anna-Katrina S. Christakis
kchristakis@gradypilgrim.com

Danielle M. Kays
dkays@gradypilgrim.com

       Further, I hereby certify that on January 29, 2014, I caused the foregoing document to be
served by electronic mail upon:

Ryan M. Henderson
rhenderson@wwmlawyers.com

Arthur J. McColgan
amccolgan@wwmlawyers.com

Edward P. Gibbons
egibbons@wwmlawyers.com




                                                    s/Francis R. Greene
                                                    Francis R. Greene




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                    APPENDIX 1
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CLEVE COTTON, TWANITA TURNER,                       )
on behalf of plaintiff and the class defined        )
below,                                              )
                                                    )
                       Plaintiff,                   )      10-cv-4709
                                                    )
               vs.                                  )      Magistrate Judge Valdez
                                                    )
NATIONAL ACTION FINANCIAL                           )
SERVICES, INC.,                                     )
                                                    )
                       Defendant.                   )

                                    FINAL APPROVAL ORDER

       This matter coming before the Court on the motion of plaintiff, Twanita Turner,

individually and on behalf of the Class, for an order (1) approving the compromise of the $4

million judgment herein for $595,000 actual cash to be paid by Illinois Union Insurance

Company (“Illinois Union”), (2) approving the proposed distribution of the funds set forth

below, and (3) requiring payment by Illinois Union, due notice having been given, and the Court

having considered the Settlement Agreement and Release (the “Settlement Agreement”), the

papers submitted to the Court and the proceedings to date, IT IS HEREBY ORDERED AS

FOLLOWS:

        1.     The Court approves the compromise of the $4 million judgment for $595,000

actual cash as fair and reasonable.

        2.     The Court approves distribution of the $595,000 as follows:

               a. Payment of $5,000 to plaintiff Twanita Turner for her services as class
                  representative;

               b. Payment of $20,000 to Brandy James as independent administrator of the
                  estate of Cleve Cotton, for Mr. Cotton’s services as class representative;
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               c. Payment of $371,667 to 267 class members who submitted claim forms (“the
                  Class”) in response to notice of the original settlement between plaintiff Cleve
                  Cotton and NA Liquidating Company, Inc. f/k/a National Action Financial
                  Services, Inc. (“NA Liquidating”);

               d. Payment of $198,333 to Class Counsel for their services to plaintiff and the
                  Class.

        3.     On December 18, 2013 in open court, and by order entered on January 8, 2014,

the Court approved the sending of supplemental notice by first class mail to the Class. The Court

has received no objections to the Settlement Agreement. The Court finds that the form of

supplemental notice sent to the Class constituted the best practicable notice under the

circumstances and fully met the requirements of due process pursuant to the Federal Rules of

Civil Procedure, the United States Constitution, and any other applicable law.

        4.     The late claim form of Calvette L. Wren is allowed and Calvette L. Wren is

permitted to receive a pro rata share of the settlement proceeds.

        5.     The pro rata share of any class member who cannot be located or who fails to

cash his or her check reverts to Illinois Union.

        6.     In accordance with the notice provided to the Class, a hearing was held on

January 22, 2014, to determine whether the settlement between plaintiff and Illinois Union set

forth in the Settlement Agreement should be approved as fair, reasonable, and adequate, and all

interested persons were given an opportunity to be heard.

        7.     The Court now finds that the settlement, as set forth in the Settlement Agreement,

is fair, reasonable and adequate, and made in good faith and at arms-length, and the Court hereby

approves the settlement. The Parties are directed to perform in accordance with the terms and

provisions set forth in the Settlement Agreement, and the Settlement Agreement is hereby

incorporated into and adopted as part of this Order.




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        8.        Plaintiff Twanita Turner, Brandy James, both individually and as independent

administrator of the estate of Cleve Cotton, the Class, Illinois Union, NA Liquidating, and Sitel

Worldwide Corporation are bound by this Order and by the Settlement Agreement and the

settlement embodied therein.

        9.        Plaintiff shall file a Satisfaction of Judgment related to the judgment previously

entered in this matter against Defendant NA Liquidating, Inc. f/k/a National Action Financial

Services, Inc., within ten (10) days of receipt by Class Counsel of payment of $595,000 by

Illinois Union.

        10.       The Court reserves exclusive and continuing jurisdiction and venue over the

Lawsuit for the purposes of supervising the consummation, implementation, enforcement,

construction, interpretation, performance and administration of the Settlement Agreement and

the judgment entered as part of this Order. The Court further retains the right to question the

distribution of the Settlement Fund, including any payments to Plaintiff and Class Counsel

pursuant to the Settlement Agreement.

        11.       Class Counsel shall file an accounting of the distribution of the settlement funds

within 120 days of the entry of this order. No later than ten business days thereafter, Class

Counsel shall file a stipulation, dismissing this matter with prejudice.



SO ORDERED this ____ day of ______________________, 2014.


                                               ________________________________
                                               The Honorable Maria Valdez
                                               United States District Court Magistrate Judge




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